Case 1:15-cv-05345-AJN-KHP Document 684-1 Filed 05/22/18 Page 1 of 6




                Exhibit 1
                Case 1:15-cv-05345-AJN-KHP Document 684-1 Filed 05/22/18 Page 2 of 6


Howes, Kendall (LA)

From:                                     Lara Kollios <LKollios@boerschshapiro.com>
Sent:                                     Monday, May 7, 2018 11:20 AM
To:                                       Howes, Kendall (LA)
Cc:                                       Jackson, Jonathan (LA)
Subject:                                  RE: Almaty v Khrapunov - Depositions


Kendall,

Yes, May 18 at 1:30 works for us.

As discussed, our clients will agree to be deposed only by a Swiss judge, rather than by commissioners designated by the
City of Almaty, i.e., lawyers from Latham. This is based on Almaty’s counsel’s repeated failure to abide by Swiss law and
the Hague convention during Viktor’s and Iliyas’s depositions taken pursuant to the parallel matter pending in the
Southern District of New York. Conduct contrary to Swiss law and the Hague Convention include (i) seizing a document
from Viktor during the deposition against his will and against the instruction of Swiss counsel (this is a criminal offense
under Swiss law, as well as the Hague Convention), (ii) harassing Viktor, who is 69 years-old, to continue answering
questions after 5:30, when he was physically weak and losing his voice, and coming back to be deposed the following
day; and (iii) repeatedly asking questions outside the scope of the topics identified in the approved Letter of Request for
both Viktor and Iliyas. Also, as discussed, this is not contrary to representations we made to the Court because briefing
regarding the depositions occurred well before Viktor and Iliyas were deposed in the in the parallel SDNY matter, and
thus before Almaty violated Swiss law and the Hague Convention.

I have discussed your objections regarding the format of a deposition by a Swiss judge and understand that they are
unfounded. First, Almaty controls the direct questioning, as all questions are drafted by Almaty’s counsel in
advance. Second, Almaty’s counsel may be present and will be able to propose cross examination questions to the Swiss
judge. The Swiss judge will ask the proposed cross examination questions at his or her discretion. Our clients will not
object to the presence of Almaty’s counsel at the deposition. Third, if the parties agree, and our clients will do so, there
may be a verbatim transcript of the proceeding. Fourth, our understanding is that the length of time for the approval
process is no different when seeking a deposition by commissioner versus a deposition by a Swiss Judge. I will also
remind you that our clients have made clear since September 2017 that they would only agree to be deposed in
Switzerland through the Hague process. It is Almaty that has chosen to delay seeking the depositions through that
process until now.

Thanks - Lara



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From: Kendall.Howes@lw.com <Kendall.Howes@lw.com>
Sent: Friday, May 4, 2018 8:08 AM
                                                                          1
                Case 1:15-cv-05345-AJN-KHP Document 684-1 Filed 05/22/18 Page 3 of 6
To: Lara Kollios <LKollios@boerschshapiro.com>
Cc: jonathan.jackson@lw.com
Subject: RE: Almaty v Khrapunov - Depositions

Hi Lara,

Have you been able to confirm with Swiss counsel your concerns with Viktor’s deposition in Switzerland earlier this
year? Please let us know if our understanding set out below is correct.

Additionally, we spoke with Judge Mumm’s clerk regarding scheduling a discovery conference. The Judge would like to
have the conference on May 18 at 1:30. He is fine with any non-local counsel participating telephonically. Please let me
know if that does not work for you.

Thanks,
Kendall

From: Lara Kollios [mailto:LKollios@boerschshapiro.com]
Sent: Friday, April 27, 2018 3:11 PM
To: Howes, Kendall (LA) <Kendall.Howes@lw.com>
Cc: Jackson, Jonathan (LA) <jonathan.jackson@lw.com>
Subject: RE: Almaty v Khrapunov - Depositions

Thanks for further describing your concerns. I am discussing your additional concerns with Swiss counsel Monday
morning.

Martha and I are not available next week due to travel, various court appearances, and client meetings. If you intend to
attempt to schedule something with the Court prior to the first date I am available (Monday, May 7 in the afternoon),
please let the court know that May 7 is the first date of our availability.

Have a nice weekend - Lara

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From: Kendall.Howes@lw.com <Kendall.Howes@lw.com>
Sent: Thursday, April 26, 2018 10:03 AM
To: Lara Kollios <LKollios@boerschshapiro.com>
Cc: jonathan.jackson@lw.com
Subject: RE: Almaty v Khrapunov - Depositions

Lara,

As stated on our call, our objections to the magistrate process include (1) not being able to ask and control the direct
questioning; (2) not being able to conduct cross examination; (3) not having a verbatim transcript of the proceeding; and
of course (4) your explicit representations to the court that the Swiss deposition process would be adequate precisely

                                                                          2
               Case 1:15-cv-05345-AJN-KHP Document 684-1 Filed 05/22/18 Page 4 of 6
because defendants were willing to participate in the commission process, a representation that you have now
abandoned without any legitimate basis. In addition, it appears based on the memorandum defendants submitted to
the Court from Swiss counsel that the magistrate process takes longer than obtaining a deposition via commission
(usually four months instead of two). This is problematic as well. We are still looking into the magistrate process since
we did not anticipate there would be any issue with appointing commissioners. We will let you know if we identify
other areas of concern.

Regarding the discovery conference, we cannot delay sorting out this issue until May 7 - particularly in light of the
substantial delay that your new proposal would entail. If you cannot give us a date that works for you or Martha next
week (whether in person or by phone, which appears to be what the Magistrate Judge’s order contemplates), we will
ask the Magistrate to schedule it for the next available date that works for the Court.

Best,
Kendall

From: Lara Kollios [mailto:LKollios@boerschshapiro.com]
Sent: Wednesday, April 25, 2018 12:38 PM
To: Howes, Kendall (LA) <Kendall.Howes@lw.com>
Cc: Jackson, Jonathan (LA) <jonathan.jackson@lw.com>
Subject: Re: Almaty v Khrapunov - Depositions


Kendall,



I am discussing the matter with Swiss counsel tomorrow and will get back to you. Let me know if you have any
issues with the proposed deposition format, other than the two you addressed on the call yesterday, namely
whether follow-up questions may be asked and whether there is a verbatim transcript.



As for a hearing, as discussed yesterday, I do not believe scheduling a discovery conference before an
adequate meet and confer has occurred is compliant with the Court's direction or an efficient use of the
Court's or the parties' resources. Thus, I object to scheduling any discovery conference until that has
occurred. I offered to set up another call this week after I had an opportunity to address your questions with
Swiss counsel, but you refused to do so and said you wanted to schedule a conference with the Court
instead. If you insist on going forward under these circumstances, please inform the Court of our objection
and the reasons therefore.



The first time I am available for a court appearance is Monday, May 7 in the afternoon. I am also available
Tuesday, May 8, which I believe is Judge Mumm's law and motion day.



Thanks - Lara

Lara Kollios
                                                             3
                Case 1:15-cv-05345-AJN-KHP Document 684-1 Filed 05/22/18 Page 5 of 6
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From: Kendall.Howes@lw.com <Kendall.Howes@lw.com>
Sent: Tuesday, April 24, 2018 7:27:29 PM
To: Lara Kollios
Cc: jonathan.jackson@lw.com
Subject: Almaty v Khrapunov - Depositions

Lara,

Thanks for the call today. As we understand it, defendants are no longer willing to be deposed by an appointed
commissioner as is permitted in Switzerland under the Hague Convention because of certain alleged conduct that
occurred during Viktor’s deposition in the case pending in the SDNY, including not permitting Viktor to take breaks and
straying from the deposition topics. Please confirm that we have accurately described your position and let us know if
there was any other conduct that defendants believe warrants refusing to allow the depositions to go forward as
previously agreed (and pursuant to the method defendants represented to the Court would be adequate).

Per the Court’s order (Dkt. 242), we intend to contact the Courtroom Deputy Clerk to schedule a discovery conference
regarding this issue prior to filing a motion. Please let us know if you are available Monday or Tuesday of next week.

Thanks,
Kendall

Kendall M. Howes

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                                                                          4
             Case 1:15-cv-05345-AJN-KHP Document 684-1 Filed 05/22/18 Page 6 of 6
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